         Case 1:18-cr-10364-DPW Document 420 Filed 03/31/22 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )      Criminal No. 18-10364-DPW
                                              )
(1) JASIEL F. CORREIA II, and                 )
(2) GENOVEVA ANDRADE,                         )
                                              )
                     Defendants               )

  GOVERNMENT’S SUBMISSION IN RE MEMORANDUM REGARDING PROTECTIVE
                               ORDER

        The United States of America files this submission to clarify that the government’s

Motion to Lift Protective Order (Dkt. No. 410), dated March 17, 2022, was not filed at the instance

of the Massachusetts Cannabis Control Commission (“CCC”). In early November 2021, during

preparation for trial in the matter of United States v. Genoveva Andrade, the government

corresponded with the CCC general counsel after defense counsel for Andrade had subpoenaed

CCC records, which included certain records that were subject to the existing protective order

applicable to the CCC (Second Amended Protective Order, Dkt. No. 124, the “Protective Order”).

During these communications with CCC general counsel, the government learned that the

Protective Order had the unintended consequence of preventing the CCC from openly and

transparently conducting certain of its regulatory activities in the ordinary course of its business

because the CCC had refrained from referencing and/or disclosing certain government reports and

information that it had relied upon in making certain statutory and regulatory findings. For

example, CCC matters pertaining to certain applicants which would normally have been conducted

before the public in accordance with open-meeting laws, would be conducted in closed executive

session because of the Protective Order. Because the matter of Andrade was still an ongoing trial

matter, the government did not seek lifting the Protective Order.
             Case 1:18-cr-10364-DPW Document 420 Filed 03/31/22 Page 2 of 3




         In early March 2022, the government learned that a relative of MJ Vendor #4 (see Second

Superseding Indt., Dkt. No. 69) could not proceed in applying for a license because the Protective

Order barred the CCC from disclosing information publicly that was required as part of the

application process. 1 Since the jury trial for defendant Jasiel Correia concluded in May 2021, and

Genoveva Andrade pled guilty and was sentenced on March 7, 2022; and because the need for the

CCC to conduct its regulatory business openly and transparently in the normal course outweighed

the need to avoid pretrial publicity, the government requested that the Court lift the Protective

Order (Dkt. No. 410) after notifying defense counsel for Andrade and Correia that it intended to

do so.       Only counsel for Correia opposed the government’s motion (Dkt. No. 414).          The

government did not contact the CCC prior to filing its motion.

         In preparation for the March 25, 2022 hearing scheduled for the Motion to Lift Protective

Order (see Dkt. Nos. 412, 413), the government contacted CCC general counsel, and confirmed

its understanding that the CCC supported the government’s Motion to Lift the Protective Order.

In addition, the government confirmed with the CCC its understanding that based on the Exception

Order and the Memorandum Regarding Protective Order, issued on March 25, 2022, that “[t]he

Exception Order was designed to permit disclosure by the government to the [CCC] for use in

performing its regulatory duties.” The CCC also recognizes that “if additional disclosures not

covered by its directive were thought by the [CCC] to be necessary,” it will exercise the option to

“seek further direction from this court[,]” and it will do so through a “specific identifiable

modification of the Exception Order.”




         1
         Subsequent to the Court’s Order (Dkt. No. 416) denying the government’s Motion to Lift
Protective Order, the CCC informed the government that this statement does not accurately reflect
its processes.
                                                 2
         Case 1:18-cr-10364-DPW Document 420 Filed 03/31/22 Page 3 of 3




                                              Respectfully submitted,

                                              RACHAEL S. ROLLINS
                                              United States Attorney


                                         By: /s/ Dustin Chao
                                             DUSTIN CHAO
                                             DAVID G. TOBIN
                                             Assistant U.S. Attorneys




                                CERTIFICATE OF SERVICE

        I certify that, on March 31, 2022, this document was sent electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF).

                                              /s/ Dustin Chao
                                              Dustin Chao




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